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Attorney for Defendants Ehab S. Yacoub and Lorina A. Mikhaeil

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JAMES SHAYLER, Case No. 2:20-CV-01882 RAO

Plaintiff, jassignee for all purposes to the
onorable Rozella A. Oliver]

-VS- (ROA 81)

ORDER TO SHOW CAUSE

EHAB S. YACOUB, AN INDIVIDUAL; | (VACATE JUDGMENT/ORDER)
LORINE A. MIKHAEIL ; AND DOES |
THROUGH 10, INCLUSIVE [CIVIL RULE 60]

 

Defendants.

 

IT IS ORDERED

James Shayler shall appear personally before the court and show cause, if any,
why the order dated August 31, 2021 should not be vacated as required in the
attached Motion for Order to Show Cause Regarding Vacating the Judgment/Order.

A Hearing shall occur on

Date: Time: a.m./p.m.
Place Room:
Courthouse:

 

 

 

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ORDER TO SHOW CAUSE (VACATE JUDGMENT/ORDER) ROA 81

 

 

 
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| || FAILURE TO APPEAR IN PERSON AND DEFEND MAY RESULT IN AN
ORDER BEING ENTERED BY THE COURT WHICH GRANTS THE
RELIEF REQUESTED IN THE ACCOMPANYING MOTION WITHOUT
4)] FURTHER NOTICE TO YOU.

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6 || Dated:
7 Honorable Rozella A. Oliver

 

9 || Presented by:

 

12 || Kevin M. Badkoubehi, Esq.

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ORDER TO SHOW CAUSE (VACATE JUDGMENT/ORDER) ROA 81

 

 

 
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PROOF OF SERVICE

I, Kevin M. Badkoubehi:

I am a citizen of the United States and employed in Los Angeles County, California. I am
over the age of eighteen years and not a party to the within entitled action. My business address is
5850 Canoga Avenue, Suite 301 Woodland Hills, CA 91367

On September 9, 2021, I served a copy of the within document(s):

ORDER TO SHOW CAUSE VACATION OF JUDGMENT ORDER

 

BY MAIL: by placing the document(s) listed above in a sealed envelope with
postage thereon fully prepaid, the United States mail at Los Angeles, California
addressed as set forth below.

 

BY E-SERVICE: by transmitting via E-Filed by One Legal the document(s)
listed above to the following person(s) as designated on the Transaction Receipt
located on the One Legal website.

BY ELECTRONIC SERVICE: by transmitting via e-mail or electronic
transmission the document(s) listed above to the person(s) at the e-mail address(es)
set forth below.

 

 

 

 

 

 

Attorneys for Plaintiff
Anoosh Hakimi

Peter Shahryar

H&S Law Group, PLC
1800 Vine Street, Suite 804
Los Angeles, CA 90028

 

 

 

 

Iam readily familiar with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the
party served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit.

Executed on September 9, 2021, at Woodland Hills, California.

I declare under penalty of perjury under the laws of the State of California that the above is
true and correct.

/s/ Kevin M. Badkoubehi
Kevin M. Badkoubehi

 

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PROOF OF SERVICE

 
